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              710 N. Planklnton Ave                                                            lnvolca Date:       ffint20
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  Bllllng Atty:   Jose A. Casto
  locatlon:       Groen Bay Clty Hall
                  100 Norfi Jefferson $t.
                  Green Bay, W 54301
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              Case 1:19-cv-00137-WCG Filed 05/21/21 Page 1 of 17 Document 178-2
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  Locatlon:     Grcen Bay City Hall
                      100 North Jeffereon 8t
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                 Case 1:19-cv-00137-WCG Filed 05/21/21 Page 2 of 17 Document 178-2
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 Bllllng Atty: Jose A, Casto
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                  100 Norh Jefiemon St.
                  Green Bry, W 54301
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              Case 1:19-cv-00137-WCG Filed 05/21/21 Page 3 of 17 Document 178-2
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  Bill   To:    Benjamin A Sparks
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                710 N. Plankinton Ave                        ffi&TS;      0112412020       ffiY:    LBrent
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                Suite 500
                Milwaukee, Wl, 53207

   Case:              Doxtator, Susan, Et Al. v. O'Brien, Erik, Et Al.
   Job #:        3786670 | Job Date:             11912020 | Delivery: Normal
   Billing Atty: Benjamin A Sparks
   Location:     Green Bay City Hall
                     100 North Jefferson St.
                     Green Bay, W|54301
   Sched Atty: Forrest Tahdooahnippah Esq I Dorsey & Whitney LLP

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                    Case 1:19-cv-00137-WCG Filed 05/21/21 Page 4 of 17 Document 178-2
   Paradigm, A Veritext Corp
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              Crivello Carlson SC
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  Case:            Doxtator, Susan, et al. v. O'Brien, Erik, et al.
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  Billing Atty: Benjamin A Sparks
  Location:     Brown County Sheriffs Office                                             f,A$H   lss": .-q199 -     "lqg0-199
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                   Green Bay, Wl 54311
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                   Case 1:19-cv-00137-WCG Filed 05/21/21 Page 5 of 17 Document 178-2
     Paradigm, A Veritext Corp
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 Bill   To:     Benjamin A Sparks                                                                                                       lnvoice #:            MW4355854
                Crivello Carlson SC
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    Case:            Doxtator, Susan, et al. v. OBrien, Erik, et al.
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             710 N Plankinton Ave
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             Milwaukee, Wl, 53207

 Case:             Doxtator, Susan, Et Al. v. OBrien, Erik, Et Al.
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                   Case 1:19-cv-00137-WCG Filed 05/21/21 Page 7 of 17 Document 178-2
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              Crivello Carlson SC
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              Milwaukee, Wl, 53207

  Case:            Doxtator, Susan, et al. v. OBrien, Erik, et al.
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  Billing Atty: Benjamin A Sparks
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                Case 1:19-cv-00137-WCG Filed 05/21/21 Page 8 of 17 Document 178-2
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                 Milwaukee, W|,53207

   Case:               Doxtator, Susan, Et Al. v. OBrien, Erik, Et Al.
   Job #:              4120433 | Job Date: 6fi22020 | Delivery: Normal
   Case #:             1:19cv00137WCG
    Billing Atty: Jose A. Castro
    Location:          Remote Deposition - Wl
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                       Green Bay, Wl 54311
   Sched Atty: Adam Floyd I Dorsey & Whitney LLP




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                   Case 1:19-cv-00137-WCG Filed 05/21/21 Page 9 of 17 Document 178-2
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             Suite 500                                                                                     Balance Due:                   $981.00
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                                                                                      Estate of Jonathan Tubby v. City of Green Bay

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            Mitwaukee, WI         53202                                             Case   Name     : Estate of Jonathan Tubby v. City of Green
                       Case 1:19-cv-00137-WCG Filed 05/21/21 Page 11 of Bay
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     Paradigm, A Veritext Gorp
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     Minneapolis MN 55402
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  Bill   To: Jose A. Castro                                                                                                               lnvoice #:            MW4468675
                 Crivello Carlson SC                                                                                                 lnvoice Date:                   8t6t2020
                 710 N Plankinton Ave
                 Suite 500                                                                                                           Balance Due:                   $1,307.25
                 Milwaukee, Wl,53207

    Case:             Doxtator, Susan, Et Al. v. O'Brien, Erik, Et Al.
    Job #:            4148045 | Job Date: 712312020 | Delivery: Normal
    Gase #:           1:19cv00137WCG
    Billing Atty: Jose A. Castro
    Location:         Remote Deposition - Wl
                      W3
                      Green Bay, Wl 54311
    Sched Atty: Forrest Tahdooahnippah Esq I Dorsey & Whitney LLP




     John G. Peters , JR., Ph.D.




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                                                                                           P.O. Box 71303
                                                                                                                                              Job #:
                                                                                                                                      lnvoice Date:
                                                                                                                                                                      4148045
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                Veritext accepts all major credit cards                              Chicago IL 60694-1303
            (American Express, Mastercard, Visa, Discover)
                                                                                                                                             Balance:               $1,307.25

                    Case 1:19-cv-00137-WCG Filed 05/21/21 Page 12 of 17 Document 178-2
     Paradigm, A Veritext Corp
     Midwest Region
     Fifth Street Towers(FST) 150 Tower,lTth Ftoor
                                                                                                               VTRITUXT                  LEGAL s*Lt'JTloNS
     Minneapolis MN 55402
     Tel.612-339-0545 Fax.
                                                                                                                  @
     Fed. Tax lD:XX-XXXXXXX


  Bill   To;    Benjamin A Sparks                                                                                                      lnvoice #:              MW4479808
                Crivello Carlson SC
                710 N Plankinton Ave                                                                                                lnvoice Date:                 8117t2020
                Suite 500                                                                                                          Balance Due:                   $1,733.50
                Milwaukee, Wl,53207

    Case:             Doxtator, Susan, Et Al. v. OBrien, Erik, Et Al.
   Job #:            4165419 f Job Date: 7t3Ot2O2O I Delivery: Normat
    Case #:           1:19cv00137WCG                                                              &ppmffiwsm pffi $q p&Y$vtffi NT
    Billing Atty: Benjamin A Sparks
    Location:     Remote Deposition - Wl                                                         c&$fi i\ffi"r *-*9q * ^ 1900139
                     w3                                                                          $d\Yfi: 0812612020 {$Y: LBrent
                     Green Bay, Wl 54311
   Sched     Atty:   Adam Floyd I Dorsey & Whitney LLP


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                                                                                                                                                                  $1,382.50

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             Robert Willis
                                                                                                                                                                     $195.00

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 TERMS: Payable upon .eceipt. Accounts 30 days psst due will bear a finance charge ol 1 .50/o per month. Accounts unpaid after 90 days agree to   pay all collection costs,
 including reasonable attornoy's fees. Contacl us to conect paymont errorg. No adjUstments will be made after 90 days. For more information on charges related to our services
 pleaso consult http://www.veritext.com/services/all-services/seruices-inlormation




                                                                                                                                       !nvoice #:             MWt479808
                                                                                 Please remit payment to:
A-13               To pay online, go to
                    www.veritext.com
                                                                                               Veritext
                                                                                        P.O. Box7l303
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                                                                                                                                                                   4165419
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              Veritext accepts all major credit cards                               Chicago lL 60694-1303
          (American Express, Mastercard, Visa, Discover)
                                                                                                                                           Balance:               $1,733.50


                   Case 1:19-cv-00137-WCG Filed 05/21/21 Page 13 of 17 Document 178-2
    Paradigm, A Veritext Corp
    Midwest Region                                                                                             VE MilTE XT               LEGAL soLUTloNs
   Fifth Street Towers(FST) 150 Tower,lTth Floor
   Minneapolis MN 55402
   Tel.612-339-0545 Fax.
                                                                                                                T
   Fed. Tax lD:XX-XXXXXXX


 Bil!   To: Jose A. Castro                                                                                                            lnvoice #:                MW4491340
               Crivello Carlson SC
                                                                                                                                   lnvoice Date:                    8121t2020
               710 N Plankinton Ave
               Suite 500                                                                                                           Balance Due:                    $1,790.00
               Milwaukee, Wl,53207

   Case:             Doxtator, Susan, et al. v. O'Brien, Erik, et al.
  Job #:             4198481 | Job Date: 81412020 | Delivery: Normal
   Case #:           1:19cv00137WCG
   Billing Atty: Jose A. Castro
   Location:         Remote Deposition - Wl
                     W3
                     Green Bay, W|54311
  Sched Atty: Forrest Tahdooahnippah Esq I Dorsey & Whitney LLP




                                         iExhibit Management



        Scott Salzmann , Vol      ll     |Transcript Services



                                                                                                                                                                    $1,790.00
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                                                                                                                                                                    $1,790.00
TERMS: Payable upon receipt. Accounts 30 days past due will bear a finance charge of 1.5% per month. Accounts unpaid after 90 days agree to        pay all collection costs,
including reasonable attorney's fees. Contact us to correct payment errors. No adjustments will be made after gO days. For more information on charg6s related to our services
        consult http://www.vefitext.com/services/all-services/services-information


                                                                                                                         APPROVED FOR PAYMENT

                                                                                                                        Case
                                                                                                                        Date


                                                                                 Please remit payment to:
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                  To pay online, go to                                                         Veritext                                    Job #:   4198481
                   www.veritext.com                                                      P.O. Box71303                              Invoice Date:  812112020
                                                                                   Chicago lL 60694-1303
              Veritext accepts all major credit cards
          (American Express, Mastercard, Visa, Discover)                                                                                Balance: $1,790.00
                 Case 1:19-cv-00137-WCG Filed 05/21/21 Page 14 of 17 Document 178-2
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   Brown & Jones Reportlng, Inc.
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   735 N. Water Street
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                                                                                 Esbte of Jonathan Tubby v. City of Green Bay
        Jose Castro
        Crivello Carlson, S.C.
        710 Nortr Plankinton Avenue
        Suite 500                                                                                            Due upon receipt
        Milwaukee, .Wl 53203


  1 CERTIFIED COPY OF TMNSCRIPT OF:
        Petra M. Schwab                                                                                                                    290.60
                (bdribits - Electronic)                                                       71.00
                (Electronic Transoipt)                                                          1.00
                Transcript Package                                                              1.00
                zooM                                                                            1.00
  1 CERTIFIED COPY OF TMNSCRIPT OF:
         Vincent Trandrida, MD                                                                                                             450.30
                (Exhibits - Electronic)                                                        5.00
                (Electronic Transcript)                                                         1.00

                                                                                                                                        $740.90

 Location of   lob    :   ZOOM* schedule2
 COVIF19 has danged the way we will all do business for a very long time. Remote depositions can help economically for firms to be able to
 conduct business.

 Contact us to hear how we can help you.




Tax ID: 39-164ffi76
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  Jose Castro                                                                  Invoice No.          L0L2t2
  Crivello Cadson, S.C.                                                        Invoice Date         Bl3tl2a20
  710 North Plankinton Avenue
                                                                               Total Due            $740.90
  Suite 500
  Milwaukee, WI 53203
                                                                                                             APPROVED FOR PAYMENT

                                                                                                             Case
                                                                                                             Date

                                                                               Job No.              78783
Remit   To: Brown & Sonea Repoiling, Inc                                       BU ID                1-MAIN
            735 1{. Water Street
                                                                               Case No.             1$CV-137
           l,ll85
           Irlilwaukee, WI53202                                                Case Name            Estate of Jonathan Tubby v. City of Green

                                                       A-15
                     Case 1:19-cv-00137-WCG Filed 05/21/21 Page 15 of 17 Document 178-2
                                                                                                    Bay
                                                                                     INVOICE                                                    1 of 1

  Brown & Jones Reporting, Inc.                                                     Invoice No.              Invoice Date             Job No.
  735 N. Water Street
                                                                                         101788               10/5/2020               79123
  M185
  Milwaukee, WI 53202                                                                Job Date                             Case No.
  Phone: 414-224-9533 Fax: 414-224-9635
                                                                                        9/28/2020                    1:19-cv-137-WCG

                                                                                                             Case Name
                                                                                                                    ..
                                                                                                              -
                                                                                Susan Doxtator, et al. vs. Erik O'Brien, et al.

       Benjamin A. Sparks
       Crivello Carlson, S.C.                                                                             Payment Terms
       710 North Plankinton Avenue
       Suite 500                                                                                          Due upon receipt
       Milwaukee, WI 53203


 ORIGINAL TRANSCRIPT OF:
       Jeffrey Noble                                                                                                                       1193.60
                   ----------
             Appearance Full Day                                                                1.00                @        125.00           125.00
             (Exhibits - Electronic)                                                         213.00
             (Electronic Transcript)                                                            1.00
             Transcript Package                                                                 1.00
             Postage & Handling                                                                 1.00                @         13.00            13.00
             ZOOM                                                                               1.00
                                                                                        TOTAL DUE >>>                                   $1,331.60

 Location of Job   : ZOOM* schedule2
                     Milwaukee, WI
                                                                                                       APPROVED FOR PAYMENT
 Ordered transcripts include transcripts w/word indexes, exhibits and archival of transcript.
                                                                                                       CASE NO.: _______-__________
                                                                                                                     0100    1900139
 For your convenience, we accept credit card payments                                                  DATE: _________
                                                                                                              10/07/2020 BY: ________
                                                                                                                               LBrent
 https://pay.xpress-pay.com/?pk= 7014

 Payment is not contingent on client reimbursement.
                                                                                                             CC TO PAY 1/2 - $665.80


Tax ID: XX-XXXXXXX
                                             Please detach bottom portion and return with payment.




  Benjamin A. Sparks                                                           Invoice No.        : 101788
  Crivello Carlson, S.C.                                                       Invoice Date       : 10/5/2020
  710 North Plankinton Avenue                                                  Total Due          : $1,331.60
  Suite 500
  Milwaukee, WI 53203




                                                                               Job No.            : 79123
 Remit To : Brown & Jones Reporting, Inc.                                       BU ID             : 1-MAIN
           735 N. Water Street                                                 Case No.           : 1:19-cv-137-WCG
           M185
           Milwaukee, WI 53202                                                 case Name          : Susan Doxtator, et al. vs. Erik O'Brien, et al.

                    Case 1:19-cv-00137-WCG Filed 05/21/21 Page 16 of 17 Document 178-2
                                               A-16
                                                                                         INVOICE                                                    1 of 1

      Brown & Jones Reporting, Inc Video                                                Invoice No.              Invoice Date             Job No.
      735 N. Water Street
                                                                                             101835                10/5/2020               79124
      M185
      Milwaukee, WI 53202                                                                 Job Date                             Case No.
      Phone: 414-224-9533 Fax: 414-224-9635
                                                                                            9/28/2020                     1: 19-cv-137-WCG

                                                                                                                  Case Name
                                                                                                                  - -    . -

                                                                                     Susan Doxtator, et al. vs. Erik O'Brien, et al.

           Benjamin A. Sparks
           Crivello Carlson, S.C.                                                                               Payment Terms
           710 North Plankinton Avenue
           Suite 500                                                                                            Due upon receipt
           Milwaukee, WI 53203


            Jeffrey Noble                                                                                                                          937.50
~ - = - - - -_,....ttendance.,-1:quipment Setup_&-Br.eakdown                                ____._,_o
                 Videographer                                                                       6.50 Hours
                 SALES TAX                                                                                                                          52.50
                                                                                            TOTAL DUE >>>                                      $990.00

     Location of Job   : ZOOM/VIDEO* s2
                         Milwaukee, WI                                                                       APPROVED FOR PAYMENT
     Ordered transcripts include transcripts w/word indexes, exhibits and archival of transcript.

     For your convenience, we accept credit card payments
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     https://pay.xpress-pay.com/?pk= 7014                                                                   DATE: _________ BY: ________
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     Payment is not contingent on client reimbursement.

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   Tax ID: XX-XXXXXXX
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      Benjamin A. Sparks                                                            Invoice No.       : 101835
      Crivello Carlson, S.C.                                                        Invoice Date      : 10/5/2020
      710 North Plankinton Avenue
                                                                                   Total Due          : $990.00
      Suite 500
      Milwaukee, WI 53203




                                                                                   Job No.            : 79124
    Remit To: Brown & Jones Reporting, Inc Video                                    BU ID             : 2-VIDEO
               735 N. Water Street
                                                                                   Case No.           : 1:19-cv-137-WCG
               M185
               Milwaukee, WI 53202                                                 Case Name          : Susan Doxtator, et al. vs. Erik O'Brien, et al.

                       Case 1:19-cv-00137-WCG Filed 05/21/21 Page 17 of 17 Document 178-2
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